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                                                                 601 Lexington Avenue
                                                                  New York, NY 10022
          Timothy K. Gilman
        To Call Writer Directly:                                    (212) 446-4800                                       Facsimile:
            (212) 446-4689                                                                                            (212) 446-4900
     timothy.gilman@kirkland.com                                  www.kirkland.com




                                                                   May 3, 2019

              By ECF and E-mail

              Hon. Brenda K. Sannes, U.S. District Judge
              Federal Building and U.S. Courthouse
              P.O. Box 7336
              Syracuse NY 13261-7336

                                 Re:    Proctor v. LeClaire, Jr., et al, 09-cv-1114(BKS)(DEP)

          Dear Judge Sannes:

                  I write on behalf of Plaintiff Patrick Proctor concerning the parties’ Stipulation and Order
          of Discontinuance Pursuant to Rule 41(a) (the “Stipulation”). The parties are working to execute
          the Stipulation shortly, and we expect that it will be submitted to the Court before the next status
          update is due on May 8, 2019. 1 Plaintiff respectfully requests that the Stipulation be filed under
          seal. This is because the Stipulation contains sensitive information whose public disclosure would
          pose a threat to Mr. Proctor’s safety in prison. If the Court determines the Stipulation should not
          be filed under seal, the Plaintiff requests that the Court return the document to Plaintiff’s counsel
          for proposed redactions before filing on the public docket.

                   There is a history of sealing sensitive documents to protect Mr. Proctor’s safety in this case.
          The parties previously stipulated and agreed to a Protective Order whereby any party to the
          litigation could designate as “Confidential” any document “that contains private or confidential
          personal information,” and designate as “Attorneys’ Eyes Only” any document that, if disclosed
          to an inmate, “is highly likely to cause significant physical harm to an individual.” (D.E. 65, Order
          dated December 17, 2013, at 1-2.) Pursuant to that Order, Mr. Proctor filed his opening brief in
          the United States Court of Appeals for the Second Circuit under seal. (No. 15-3673-cv, D.E. 30,
          Uncontested Motion for Leave to File Appellant Brief and Volumes VI and VII of the Appendix
          under Seal.) More recently, the transcript for the settlement conference during which the parties
          negotiated and agreed to the terms of this Stipulation was sealed by the Court, because Your Honor
          found that the presumption in favor of public access was outweighed as “[t]he Second Circuit has
          noted that access to settlement discussions and documents has no value to those monitoring the

          1
                A copy of the Stipulation is attached as Exhibit 1 and is submitted forthwith to the Court under seal pursuant to
                Local Rule 83.13.



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exercise of Article III judicial power . . . and that the presumption of access to settlement
negotiations is negligible to nonexistent.” (D.E. 190, Settlement Conference Transcript, Jan. 4,
2019, at 4:1-10 (citing United States v. Glens Falls Newspapers, Inc., 160 F.3d 853, 857 (2d Cir.
1998)).) The Defendants did not object to the sealing of the settlement conference transcript.

       Moreover, the Stipulation meets the test in the applicable Lugosch framework in this circuit
for properly sealing documents. To seal or redact documents, the Court must first determine
whether the documents are “judicial documents” to which a “common law presumption of public
access attaches.” Lugosch v. Pyramid Co. of Onondaga County, 435 F.3d 110, 119-27 (2d Cir.
2006). Although a settlement agreement is considered a “judicial document” to which the common
law presumption of public access attaches, 2 “countervailing factors” outweigh that common law
presumption of access here. Lugosch, 435 F.3d at 119–120. The crux of the Lugosch analysis
requires “balancing the value of public disclosure and countervailing factors such as (i) the danger
of impairing law enforcement or judicial efficiency, and (ii) the privacy interests of those resisting
disclosure.” Bernstein v. Bernstein Litowitz Berger & Grossman LLP, 814 F.3d 132, 143 (2d Cir.
2016); U.S. Amodeo, 71 F.3d 1044, 1049 (2d Cir. 1995).

        Here, the public access presumption (“governed by the role of the material at issue in the
exercise of Article III judicial power and the resultant value of such information to those
monitoring the federal courts” id.) is outweighed by the safety threats posed to Mr. Proctor by
public access. The Stipulation contains information that, if made public, poses a threat to Mr.
Proctor’s safety in prison. First, the Stipulation lists the the dollar amount of the parties’ monetary
settlement. (See Paragraph 5(e)). Second, the Stipulation lists privileges that Mr. Proctor receives.
(See Paragraph 5(c)). Third, the Stipulation discloses Mr. Proctor’s location. (See generally
Paragraph 5). Various inmates have followed Mr. Proctor’s case and appeal, and have expressed
strong feelings regarding the relief Mr. Proctor might receive. Mr. Proctor justifiably believes that
the disclosure of his specific relief could invoke their anger and retaliation. If made public, it
likewise could inspire resentment, anger, and retaliation by other inmates, and could facilitate any
harassment or violence inspired by the aforementioned provisions of the Stipulation. 3 Thus, even
though the Stipulation is a “judicial document” subject to a qualified First Amendment right of
access, here it is appropriate to seal the Stipulation as it “is essential to preserve higher values and


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    United States v. Erie Cty., N.Y., 763 F.3d 235, 243 (2d Cir. 2014)

3
    These specific harms distinguish this case from Utica Mutual Insurance Company, where “the parties ha[d] not
    identified, with particularity, why [the settlement] documents should be sealed or the harms likely from
    disclosure.” Utica Mut. Ins. Co. v. Munich Reinsurance Am., Inc., 2017 WL 9400673, at *5 (N.D.N.Y. Jan. 6,
    2017).
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is narrowly tailored to serve [the] interest” of ensuring Mr. Proctor’s safety. Lugosch, 435 F.3d at
119.

        Finally, even if the Court finds that the Stipulation cannot be filed under seal in its entirety,
Plaintiff’s narrowly-tailored redactions would more than outweigh the limited presumption of
public access to a private settlement document between the parties here. None of the redacted
material appears elsewhere in the record, and its public disclosure serves little value. Courts
routinely seal information to protect a person’s physical safety, when it does not already appear in
the public record. See, e.g., Tomassini v. FCA US LLC, 2017 WL 9400672, at *4 (N.D.N.Y. Jan.
6, 2017) (citing N.Y. Civil Liberties Union v. N.Y.C. Transit Auth., 684 F.3d 286, 305 (2d Cir.
2011)) (listing “a person’s physical safety” as a “higher value that ha[s] been found to overcome
the First Amendment”).

       At bottom, Mr. Proctor’s privacy and safety interests far outweigh the Stipulation’s
minimal value to the public. See Bernstein, 814 F.3d at 143. Accordingly, Plaintiff respectfully
requests that the Court permits the parties’ Stipulation and Order of Discontinuance Pursuant to
Rule 41(a) to be filed under seal.


                                                        Respectfully submitted,

                                                        /s/ Timothy K. Gilman
                                                        Timothy K. Gilman
                                                        KIRKLAND & ELLIS LLP
                                                        601 Lexington Avenue
                                                        New York, NY 10022
                                                        Telephone: (212) 446-4800
                                                        Facsimile: (212) 446-4900
                                                        timothy.gilman@kirkland.com
                                                        Attorney for Plaintiff Patrick Proctor

 cc:       All counsel of record
